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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA
                                           No. 16 CR 438–1
         vs.
                                           Judge John Z. Lee
ARTEM VAULIN, also known as “tirm”

                              AGREED STATUS REPORT

      The United States of America, by its attorney, JOHN R. LAUSCH, JR.,

submits the following status report: Defendant is still undergoing extradition

proceedings in Poland, and the parties are not currently aware of a timetable for a

resolution of those proceedings. Counsel for the government has contacted

defendant’s local counsel, who indicated that he agreed with this report.



Dated:         July 9, 2018            Respectfully submitted,

                                       JOHN R. LAUSCH, JR.
                                       United States Attorney

                                 By:   /s/ Devlin N. Su
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